    Case
MIE (Rev. 9/09)2:20-cv-11264-MOB-MJH                       ECF
               Order Regarding Reassignment of Companion Case - Civil No.   4 filed 05/26/20     PageID.110      Page 1 of 1



                                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF MICHIGAN

Group 1 Automotive, Inc., et al.,


                      Plaintiff(s),                                           Case No. 20-11264

v.                                                                            Honorable Sean F. Cox

Tokai Rika, Co. Ltd., et al.,                                                 Magistrate Judge Michael J. Hluchaniuk


                      Defendant(s).
                                                                     /

                               ORDER REGARDING REASSIGNMENT OF COMPANION CASE

         This case appears to be a companion case to Case No.           12-md02311     . Pursuant to E.D. Mich LR
83.11, the Clerk is directed to reassign this case to the docket of the Honorable Marianne O. Battani
and Magistrate Judge                                      .


                                                                              s/Sean F. Cox
                                                                              Sean F. Cox
                                                                              United States District Judge

                                                                              s/Marianne O. Battani
                                                                              Marianne O. Battani
                                                                              United States District Judge




           Pursuant to this order, case assignment credit will be given to the appropriate Judicial Officers.
           Case type: CIVIL

        If the District Judge assigned to the companion case is located at another place of holding court, the office
code will be changed accordingly.


Date: May 26, 2020                                                           s/N. Ahmed
                                                                             Deputy Clerk

cc:     Parties and/or counsel of record
        Honorable Marianne O. Battani
